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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA

 UNITED STATES OF AMERICA
                    VS                                             CASE NO. 1:90-CR-01007-11 MMP
         ALAIN STRONG

                               FINANCIAL REFERRAL AND ORDER

Regarding release of funds for: X Fine,          Restitution,   Filing Fee,      Attorney Admission Fee,
   Copy Fee,     Bond,      Other (Specify)

By:      Alain Strong #24911-013                 (Payee)
Address: Coleman, USP
         PO Box 1033
         Coleman, FL 33521

Receipt Number B090808DFLN190CR001007                   Date of Receipt       10/28/08

Motion: N/A

Explanation: An order to remit the balance of Mr. Strong’s $25,000.00 fine was signed on July 9, 2008.
The Clerk’s Office received $150.00 on the September 2008 Bureau of Prisons (BOP) reports.
According to the court dockets and financial records, Mr. Strong does not owe any additional money.
Requesting authorization to refund the $150.00 overpayment and any other payments we may receive
from the BOP for this case. There may be a timing difference on the BOP stopping payments for this
account.


WILLIAM M. McCOOL, Clerk of Court

Prepared by: ___s/Philip Detweiler___________
             Philip Detweiler, Financial Specialist               Date: October 30, 2008

Referred by:                                 ,Deputy Clerk

                                            ORDER OF COURT

It is ORDERED this 4th             day of    November                           , 2008, that the Clerk
refund the identified funds to the payee.



                                                      s/Maurice M. Paul
                                                      MAURICE M. PAUL, SENIOR
                                                      UNITED STATES DISTRICT JUDGE


Adopted: 12/03/99
